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                              No. 23-2017


                                IN THE
            United States Court of Appeals
                    FOR THE FEDERAL CIRCUIT




                         DNA GENOTEK INC.,
                                                  Plaintiff-Appellant,
                                   v.
                     SPECTRUM SOLUTIONS LLC,
                                                  Defendant-Appellee.



    APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
             SOUTHERN DISTRICT OF CALIFORNIA IN
      CASE NO. 3:21-cv-00516-RSH-DDL, JUDGE ROBERT S. HUIE

              BRIEF OF SPECTRUM SOLUTIONS L.L.C.


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December 22, 2023
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                            Claim 1, U.S. Patent No. 10,619,187
       1. A device for receiving and preserving nucleic acid in a biological sample, said
device comprising:
       a. one or more walls defining a containment vessel having a top having an opening,
and a closed bottom having a sample receiving area for holding said biological sample,
said opening for receiving a liquid sample and for sealably receiving a sealing cap, said top
having an opening for receiving a biological sample from the mouth of a user and further
comprising at least one marking on said one or more walls which corresponds to a fluid
volume in the sample receiving area;
       b. a reagent compartment having a barrier, said barrier sealing and containing
reagents in said reagent compartment and capable of disestablishment to release said
reagents into the sample receiving area;
       c. reagents in the reagent compartment for preserving nucleic acids potentially
present in the sample wherein said reagents comprise a denaturing agent, a chelator and a
buffer agent; and,
       d. the sealing cap, whereby the device is configured such that, when sealably closing
said opening with said sealing cap, the barrier mechanically disestablishes to release said
reagents to form a mixture of reagents and said biological sample wherein said buffering
agent maintains a pH of said mixture equal to or above 5.0 to preserve nucleic acids
potentially present in the sample.

                             Claim 1, U.S. Patent No. 11,002,646
        1. A kit for collecting and preserving a biological sample, the kit comprising:
        a sample collection vessel, the sample collection vessel comprising: a sample
collection reservoir having an opening configured to receive the biological sample from a
user into the sample collection reservoir; a connection member disposed on an exterior
portion of the sample collection vessel and adjacent to the opening;
        a cap, the cap comprising: a reagent chamber configured to store a reagent; and a
complementary connection member configured to engage the connection member of the
sample collection vessel; and
        a movable annular valve configured to associate with the cap and with the opening
of the sample collection reservoir, the movable armular valve comprising: an inner cylinder
in fluid-tight association with the cap and comprising a sidewall, the sidewall comprising
a fluid vent; and
        an outer cylinder in fluid-tight association with the inner cylinder and associated
with the opening of the sample collection reservoir, the outer cylinder comprising an
aperture defined by an interior sidewall of the outer cylinder,
        wherein the aperture accommodates at least a portion of the inner cylinder,
        wherein the interior sidewall obstructs the fluid vent when the movable annular
valve is closed, and
wherein the interior sidewall does not obstruct the fluid vent when the movable annular
valve is open.



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                         CERTIFICATE OF INTEREST

      Counsel for Appellant Spectrum Solutions L.L.C., certifies the following:

      1.      The full name of every party or amicus represented by me is:

      Spectrum Solutions L.L.C.

      2.      The name of the real party in interest represented by me is:

      N/A.

      3.    All parent corporation and any publicly held companies that own 10
percent or more of the stock of the party or amicus curiae represented by me are:

      Spectrum Buyer, LLC; Spectrum Intermediate, LLC

      4.    Other than those who have already made an appearance in this Appeal,
the name of all law firms and the partners or associates that appeared for the party
now represented by me in the trial court or are expected to appear in this Court are:
Nicholas M. Zovko, Stephen W. Larson, Paul Conover and Yanna S. Bouris, of
Knobbe, Martens, Olson & Bear, LLP.

      5.     The title and number of any case known to counsel to be pending in this
or any other court or agency that will directly affect or be directly affected by the
Court’s decision in the pending appeal are as follows:

      Spectrum Solutions LLC v. DNA Genotek Inc., IPR No. 2022-01347 (PTAB).

      6.      Information required under Fed. R. App. P. 26.1(b) (organizational
victims in criminal cases) and 26.1(c) (bankruptcy case debtors and trustees):

      None.
                                 KNOBBE, MARTENS, OLSON & BEAR, LLP

Dated: December 22, 2023         By: /s/ Ali S. Razai
                                     Ali S. Razai, Principal Counsel

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                                 Spectrum Solutions L.L.C.


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                     STATEMENT OF RELATED CASES

      There have been no previous appeals of this civil action. U.S. Patent No.

11,002,646 at issue on this appeal is the subject of IPR2022-01347 currently pending

before the U.S. Patent Trial and Appeal Board. The Board’s final decision in the

IPR is due by February 12, 2024. The IPR involves an identical issue presented on

this appeal, namely the construction of “preserving a biological sample,” albeit in

the context of whether the claims of the patent are valid. Thus, the IPR may

ultimately be affected by the decision in this appeal.




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                         STATEMENT OF THE ISSUES

      1. Where the district court granted summary judgment of non-infringement

of the ’187 patent based on a finding that “no reasonable jury could conclude that

the accused products literally satisfy the ‘containment vessel having a top having an

opening…said opening for receiving a liquid sample and for sealably receiving a

cap’ claim limitation based on the structure identified by Genotek,” whether

Genotek’s challenge to the district court’s construction of “reagent compartment” is

moot because the district court’s summary judgment of non-infringement did not

rely on that claim limitation.

      2. If Genotek’s claim construction challenge of “reagent compartment” is not

moot, whether the district court correctly construed “reagent compartment” to be a

“region or section of the containment vessel.”

      3. Whether the district court correctly construed “preserving a biological

sample” in the preamble of the ’646 patent (a) as limiting and (b) to mean

“preventing the cells in the biological sample from having their antigens degraded

such that they can be purified or enriched based on their antigens, and preventing

alterations in the cellular epigenome” in accord with an explicit definition in the

specification.




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                                 INTRODUCTION

      Genotek’s appeal of the district court’s summary judgment of non-

infringement of the ’187 patent is moot. That judgment was not based on the

“reagent compartment” limitation addressed in Genotek’s appeal. Rather, it was

based on the container/containment vessel limitation, which requires the

“containment vessel” to have “a top having an opening … said opening for receiving

a liquid sample and for sealably receiving a cap.”            Genotek presented an

infringement case, supported by expert testimony, that the accused device has a tube

and cap that together satisfy this limitation. The district court accepted Genotek’s

evidence and granted summary judgment of non-infringement because no

reasonable jury could “conclude that the top of the structure identified by Genotek

has an opening for receiving a cap.” Appx91. Because Genotek does not challenge

the district court’s bases for summary judgment of non-infringement of the ’187

patent, the appeal is moot as to that patent.

      Even if Genotek’s challenge to the construction of “reagent compartment”

were not moot, the appeal on the ’187 patent nonetheless fails because the district

court’s construction was correct. The district court correctly construed the “reagent

compartment” of the claimed device as a “region or section of the containment

vessel.” The specification clearly states that the region containing the composition



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for preserving the nucleic acids (i.e., the reagent compartment) of the invention is

located within the container. The district court correctly rejected that these clear

statements were merely describing a preferred embodiment and instead found that

they describe the invention as a whole. Appx33.

      The district court’s construction was further supported by what Genotek

omitted from its patent application that issued as the ’187 patent. Genotek’s

provisional application disclosed a sample collection device with a reagent

compartment in the cap of the device. When Genotek filed its non-provisional

application it deleted that embodiment and described the invention as limited to a

device with a reagent compartment in the container. The construction was also

supported by Genotek’s later explicit characterization of the ’187 patent as limited

to a device with a reagent compartment in the container.

      As to the ’646 patent, Genotek only challenges the construction of the term

“preserving a biological sample” in the claim preamble. Because the district court

correctly construed that term as a limitation of the invention, the district court’s grant

of summary judgment of non-infringement should be affirmed. First, the claim

preamble provides antecedent basis for “the biological sample” recited in the body

of the claim. Although the full preamble is not recited in the claim body, the

preamble was correctly treated as a limitation because “biological sample” is



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intertwined with the broader preamble phrase “collecting and preserving a biological

sample.” Second, the preamble is limiting (and requires preservation of cells)

because the specification underscores that preserving cells of a biological sample is

an important feature of the invention and also provides an explicit definition for

preserving cells of a sample.




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              STATEMENT OF THE CASE AND THE FACTS

      In 2019, Spectrum developed and began commercializing a novel device for

collecting saliva samples for molecular diagnostic testing: the SDNA saliva

collection device.1 Spectrum’s SDNA device was the nation’s first home saliva-

collection kit for COVID-19 PCR testing. Appx956-957. In March 2021, after

Spectrum’s SDNA device had become the gold standard for this use, Genotek sued

Spectrum, alleging that the SDNA device infringed its ’187 patent. Appx223.

Genotek later filed an amended complaint alleging that the SDNA device also

infringed the ’646 patent. Appx294.

A.    The Asserted ’187 Patent

      Per the ’187 patent specification, “[t]he present invention relates to

compositions and methods for preserving nucleic acids at room temperature for

extended periods of time ….” Appx131 (1:23-25). The patent includes substantial

detail about the reagents that make up the composition of the invention. Appx135-

136 (9:1-11:67). The invention features a composition that includes a denaturing

agent, a chelator, and a buffer. Appx135 (9:22-28). The composition destroys or




      1Though the SDNA device had three numerical designations, SDNA-1000,
SDNA-2000 and SDNA-3000, the products are identical. Appx3806-07 (110:15-
111:25).

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lyses the cells contained within a biological sample. The patent explains how the

composition works: “When sputum is mixed with a composition of the present

invention, cells are disrupted, nucleic acids are liberated from the cells, membranous

material [i.e., the cell membrane] is solubilized, proteins are stripped from the

nucleic acids, and protein digestion begins.” Appx137 (13:38-42).

      The ’187 patent also describes a device that contains the reagent composition

and permits collection of the biological sample and mixing the sample with the

reagent composition. As depicted below, the device includes a container with a cap.




Appx130 (Fig. 11 (annotations added)).

      The specification describes the device as follows:

      The device includes: a container that has a first region for collecting a
      biological sample and a second region containing a composition for
      preserving a nucleic acid, a barrier between a first region and a second
      region that keeps the sample and composition separate, a means for
      closing the container, and a means for disturbing the integrity of the
      barrier, such that the composition is capable of contacting the bodily
      sample.



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Appx137 (14:51-58). The barrier that separates the two compartments (regions) of

the container can be a pierceable membrane or pivoting sealing disc. Appx130 (Fig.

11) (annotated above); Appx138 (15:17-20, 15:33-36). The device also includes

structures that displace the barrier to allow the reagents and the sample to mix in the

container. Appx138 (15:37-49).

      The specification includes a Summary of the Invention that lists seven aspects

of the invention, one of which is the device of the invention. Appx132-133 (3:46-

6:65). The other aspects in the Summary of the Invention relate to a composition

for preserving nucleic acids and various methods. See Appx132 (3:61-64 (first

aspect)); Appx133 (5:35-39 (second aspect); 5:46-50 (third aspect); 5:57-62 (fourth

aspect); 6:6-13 (fifth aspect); 6:46-56 (seventh aspect)). The sixth aspect, which

relates to the device of the invention, provides:

      In a sixth aspect, the invention features a device for preserving and/or
      isolating a nucleic acid obtained from a biological sample. The device
      includes: a container that has a first region for collecting a biological
      sample and a second region containing a composition for preserving
      a nucleic acid, a barrier between the first region the second region that
      keeps the biological sample and the composition separate, a means for
      closing the container, and a means for disturbing the integrity of the
      barrier such that the composition is capable of contacting the biological
      sample.

Appx133 (6:26-36) (emphasis added). The seventh aspect features a “method of

manufacturing a device for preserving a nucleic acid in a biological sample,” which



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includes providing a container having a region for containing the reagent

composition. Id. (6:46-50).

      The remainder of the specification is in accord with the Summary of

Invention, namely describing the device of the invention as providing a reagent in a

region of the container, and a separate lid that closes the container. Appx137-138

(14:49-60, 15:1-13, 15:33-49).

B.    Genotek’s Provisional Application

      The ’187 patent claims priority to three provisional applications, including

provisional application no. 60/386,398 (“’398 provisional”). Appx118. The ’398

provisional describes a sample collection device or tube having a reagent

compartment. Appx3182. The ’398 provisional describes one embodiment where

the reagent compartment is in the cap of the device and another embodiment where

the reagent compartment is in the container. Although the ’187 patent bodily

incorporates the embodiment with a reagent compartment in the container, it omits

any reference to a device with the reagent compartment in the cap.

      In the first embodiment of the provisional the “compartment is the underside

of the cap of the container.” Appx3185. The provisional describes this embodiment

as follows:




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      Figure 2. Tube design ‘B’. In this embodiment, the tube is of design
      A in which the lid has been modified: It contains a small bag (3)
      containing about 2 milliliters of DNA preserving composition
      described above or other desired agent. The cap and bag are designed
      such that the action of tightening the cap both locks the cap and releases
      the contents of the bag, allowing the DNA preserving solution to mix
      with the saliva.




Appx3186 (emphasis original); Appx3190.

      The second embodiment described in the provisional is depicted in Figures 3-

5, which have the reagent compartment at the bottom of the container. In one version

of this embodiment (Figure 3), a septum is used to seal the reagent composition in

the bottom of tube. The “septum is made of polyethylene or similar material that

can be easily pierced,” thereby releasing the composition to mix with the sample.

Appx3186.




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Appx3190.

      In the second version of this embodiment (Figures 4 and 5), a sealing disk is

used in place of the pierceable septum. The sealing disk is displaced by a plunger

that is contacted by a ram when the cap is applied (Figure 5), thereby releasing the

composition to mix with the sample. Appx3186.




Appx3191.

      When Genotek filed its non-provisional application that resulted in the ’187

patent, it deleted all references to the embodiment with a reagent compartment in the



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cap, including Figure 2 and the associated text describing it. Genotek included only

the embodiments with the reagent compartment in the container.                 Compare

Appx129-130 (Figs. 10-11) with Appx3191 (Figs. 4-5).

      The ’187 patent specification includes a statement incorporating by reference

the disclosure of the ’398 provisional. Appx131 (1:18-19). Genotek, however,

never bodily incorporated into the ’187 patent the ’398 provisional’s description of

a device having the reagent compartment in the cap.

C.    Genotek’s Later Characterizations of the ’187 Patent

      Genotek later filed an application describing and claiming a sample collection

device with a reagent compartment in the cap of the device. Specifically, in 2006

(four years after the earliest priority date of the ’187 patent), Genotek filed an

application leading to U.S. Patent No. 8,221,381 (“the ’381 patent”). Appx1569.

The ’381 patent, like the ’187 patent, discloses a sample collection device with a

reagent chamber for releasably storing a reagent composition. However, in the ’381

patent the reagent compartment is in the cap of the device as depicted in Figure 24

below.




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Appx1585 (annotations added); Appx1587 (4:24-33).

      The ’381 patent specifically claims the reagent compartment in the lid of the

device: “1. A container system for releasably storing a substance [e.g., the reagent

composition], comprising… b) a lid… comprising a reservoir for holding the

substance, and a pierceable membrane sealing the substance within the reservoir….”

Appx1591-92 (12:59–13:4).

      In the background of the ’381 patent, Genotek cited and distinguished a

publication of the ’187 patent at issue here. Specifically, Genotek described the ’187

patent (referenced as its PCT publication) as follows:

      International PCT application WO 2003/104251 describes a container
      for collecting a biological sample…. This container has a first region
      for collecting a biological sample, a second region containing a
      composition for preserving nucleic acid, and a barrier between the first
      region and a second region.

Appx1686 (1:50-59).



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      The ’381 patent was later challenged in an IPR. The ’187 patent was asserted

as prior art to that patent (the ’187 patent was referred to as “Birnboim” in the IPR

proceedings). Appx1524. The petitioner argued, inter alia, that it would have been

obvious to modify Birnboim to put the reagent compartment in the lid as was claimed

in the ’381 patent.    In opposing the IPR, Genotek represented that Birnboim

describes a “very different device[]” than those with a reagent compartment in the

lid because Birnboim has “a reagent below a plastic cover in a container.”

Appx1562-63. The PTAB denied institution of the petition. Appx1511-14. The

PTAB explained: “As Patent Owner [Genotek] points out, Petitioner does not

explain sufficiently why one of ordinary skill in the art would have considered

combining the container of Birnboim with certain features of the container of

O’Donovan [a device with a reagent compartment in a lid] to arrive at the claimed

invention.” Appx1512.

D.    The Asserted ’646 Patent

      The ’646 patent also relates to compositions and a device for preserving a

biological sample, but in a quite different manner than the ’187 patent. Rather than

destroying cells to release the nucleic acids like the ’187 patent, the ’646 patent

invention is directed to preserving the cells in the biological sample. The ’646 patent

addressed the need for a device that enabled a biological sample to be collected and



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its cells preserved so that particular cells could be isolated and their genetic makeup

(epigenome) could be profiled. Appx174 (4:47-49). Consistent with addressing this

need, the patent specification repeatedly discusses preserving the cells in the

collected sample.

      For example, the Abstract states that the “disclosure relates to devices,

solutions and methods for collecting and processing samples of bodily fluids

containing cells;” “the disclosure generally relates to…the isolation and

preservation of cells from saliva and other bodily fluids.” Appx142 (emphasis

added).

      The patent’s Field of the Disclosure explains that the patent relates to the

“isolation and preservation of cells” from bodily fluids. Appx173 (1:25-27). The

patent’s Background of the Invention describes the need the invention addressed—

a device that enables collecting and preserving cells so they can be isolated for

epigenetic studies.    Appx173-174 (2:63-67, 3:57-59, 4:37-49).           The patent’s

Summary of the Disclosure also repeatedly discusses preserving and isolating cells.

Appx174-176 (4:56-61, 6:5, 6:31, 6:38, 6:50-51, 6:61-62, 7:7-11, 7:54-55, 8:11-14).

Nowhere does the Summary of Disclosure mention preserving anything other than

the cells of a bodily fluid. The patent’s Detailed Description of the Embodiments

also repeatedly describes the preservation and isolation of cells. Appx177-182



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(9:44-47, 9:63-65, 16:9-10, 16:11-12, 16:23-24, 16:38-40, 16:44, 16:50, 16:62,

17:15-16, 17:20, 17:30-31, 19:14-15). And finally, the sole example of the patent

describes “Isolating T-Cells from a Bodily Fluid (e.g., Saliva).” Appx181-182

(18:61-19:40); see also Appx171-172 (Figs. 8-10 (demonstrating yield of isolated

T-cells after storage in preservation solution)).

      Claim 1 of the ’646 patent is directed to “a kit for collecting and preserving a

biological sample.” Appx183. Neither “preserving a biological sample” nor even

“biological sample” appears anywhere in the specification of the ’646 patent. The

specification does, however, provide an explicit definition for “preserving cells,

stating, “[f]or purposes of the disclosure, ‘preserving cells’ means preventing the

cells from having their antigens degraded, such that they can be purified or enriched

based on their antigens, and preventing alterations in the cellular epigenome.”

Appx180 (16:23-27).

E.    Spectrum’s Accused SDNA Device

      Genotek alleged that Spectrum’s SDNA device infringed both the ’187 patent

and the ’646 patent. The SDNA device, shown below, includes: a funnel, a cap,

and a container or tube. The cap includes a compartment containing reagents.




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Appx3635-37; Appx3810-11.

      The SDNA device is supplied with the funnel attached to the container. A

user deposits a saliva sample into the funnel. The funnel is removed and discarded.

The cap is then attached to the container. Screwing the cap onto the container causes

the reagent solution stored in the cap to be released into the container. Appx3811.

The use of the SDNA device is visually depicted below.




Appx3810.



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      The reagents in the SDNA device include denaturing agents (guanidine

thiocyanate and alcohol), a buffer (Tris), and a chelator (EDTA). Appx3649;

Appx3791; Appx3793; Appx3796-97. The reagents do not preserve cells in the

saliva sample. Rather, the reagents lyse cells, liberate nucleic acids from the cells,

and preserve the nucleic acids. Appx3786 (32:13-17); Appx3788 (34:9-12).

F.    The District Court’s Claim Constructions

      1.      The ’187 Patent

      The parties disputed the meaning of several terms in the ’187 patent,

including: (1) “containment vessel”; (2) “said opening for receiving a biological

sample from the mouth of a user”; and (3) “reagent compartment.” The district court

issued a 72-page claim construction order, which included the following

constructions:

      1. “containment vessel” construed as “container,” Appx21-23;

      2. “said opening for receiving a biological sample from the mouth of a user”

           construed as “the opening is able to receive a liquid biological sample

           directly from the mouth of the user,” Appx24-31; and

      3. “reagent compartment” construed as a “region or section of the

           containment vessel,” Appx31-44.

Genotek here challenges only the construction of “reagent compartment.”            In

construing that term, the district court noted Spectrum’s argument that “Genotek []

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expressly disavowed any claim scope that would cover devices with a reagent

compartment located in the cap.” Appx31-32. The district court agreed, finding:

“the specification of the ’187 Patent contains several clear disclaimers explaining

that the invention claimed in the ’187 Patent features a device with the reagent

compartment in the container (i.e., the containment vessel).” Appx44. The district

court found the disclaimer in the specification was supported by Genotek’s “deletion

of any explicit disclosure of the reagent compartment being in the cap/lid from the

’398 Provisional and by DNA Genotek’s statements during IPR proceedings

describing the scope of the claimed invention.” Id.

      2.      The ’646 Patent

      The parties disputed the meaning of several terms for the ’646 patent,

including the preamble phrase “preserving a biological sample” and whether the

preamble served as a limitation of the claimed invention. The district court held that

the preamble phrase “preserving a biological sample” was limiting and construed

the term to mean “preventing cells in the biological sample from having their

antigens degraded such that they can be purified or enriched based on their antigens,

and preventing alterations in the cellular epigenome.” Appx59-65. The construction

followed an explicit definition in the specification for “preserving cells.” Appx180

(16:23-27).



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G.    The Summary Judgment of Non-Infringement

      Following claim construction, Spectrum moved for summary judgment of

non-infringement of both asserted patents. Genotek opposed.

      Despite the district court’s holding that the claimed reagent compartment of

the ’187 patent was in the container and not the cap, Genotek maintained its claim

for infringement by contending that the cap of the SDNA device was part of the

container. Appx3640. Genotek argued:

      The Accused Product has a “reagent compartment.” It is located in the
      cap before its device is used, but once the cap is placed on the collection
      tube as intended, the cap and the collection tube form the required
      “container.” Without a cap, the preserved sample is not “contained.”

Appx3835 (citing Appx4037-38).

      In opposing summary judgment, Genotek largely relied on an expert

declaration of Dr. Steven Wereley who opined that the container of the SDNA device

includes both the cap and the tube. Genotek argued against summary judgment:

      The jurors will also have the testimony of Dr. Steven Wereley…. He
      explained that the Accused Product’s “cap” and “tube” (Spectrum’s
      words) combine to make a single “container.” [Appx4037-41] The cap
      houses what Spectrum calls a “reagent chamber.” Because the “cap” is
      part of the overall “container,” the Accused Product’s “reagent
      chamber” is the required “reagent compartment,” which is a “region or
      section of the containment vessel.” [Appx4054-56].

Appx3835-36 (joint appendix citations to Wereley Report added via brackets).

Genotek illustrated its argument using an annotated depiction of the SDNA device


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showing that the cap and the tube together make up the claimed container/reagent

compartment:




Appx3836; Appx4049.

      According to Genotek, “Dr. Wereley explained the problems solved by the

’187 patent, namely being able to collect, mix, preserve, and ship biological samples.

([Appx4034-35].)” Appx3836. Genotek further quoted Dr. Wereley’s testimony

that “[t]o meet the ‘contain’ function of a container, the container must include the

cap—if the container did not include the cap, then the preservative sample mixture

could not be shipped; the tube alone would be insufficient to contain the mixture

during shipment.” Appx3836 (quoting Appx4037-38). And further, Genotek argued

that “[a] juror accepting this testimony would conclude that the Spectrum device




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satisfied both the ‘containment vessel’ (container) and ‘reagent compartment’

limitations.” Appx3836.

      In opposing summary judgment of the ’187 patent, Genotek also submitted an

expert declaration of Dr. Michael Metzker. Dr. Metzker opined that the SDNA

device met the chemical limitations of the ’187 patent, namely that it had “reagents

in the reagent compartment for preserving nucleic acids potentially present in the

sample wherein said reagents comprise a denaturing agent, a chelator and a buffer.”

Appx3931-32.

      Genotek also relied on Dr. Metzker’s declaration in opposing summary

judgment on ’646 patent. For the ’646 patent, Metzker opined that the SDNA device,

despite having the reagent composition of the ’187 patent invention that lyses cells,

nevertheless preserves cells in a biological sample as the ’646 patent required.

Appx3950-51. Consistent with the cell lytic properties of the solution in the SDNA

device, Dr. Metzker’s testing proved that samples contacted with the solution of the

SDNA device showed “lower cell percentages” compared with those that were not

contacted with the solution. Appx3958.

      The district court rejected Genotek’s arguments and granted summary

judgment of non-infringement on both patents. As to the ’187 patent, the district

court found Genotek’s infringement theory presented in opposition to summary



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judgment was “based on an untimely and flawed claim construction,” namely the

“contention that the claimed ‘sealing cap’ is part of the claimed ‘containment

vessel.’” Appx85. The district court also held that if the construction had not been

waived, it was erroneous. Appx87.

      The district court held that even if the waived and incorrect construction were

adopted, it could not result in infringement because the ’187 patent claims also

require a “containment vessel” having “a top having an opening…said opening for

receiving a liquid sample and for sealably receiving a cap.” Appx88-89. At the

summary judgment hearing, Genotek’s counsel conceded that the plain meaning of

the word top is “uppermost part.” Appx88, n.4; Appx5783-84. In the summary

judgment order, the district court noted this concession aligns with the plain meaning

of top, and provided additional annotation to Genotek’s own diagram of the accused

device point to “The Top”:




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Appx88-89. The district court concluded, “no reasonable jury could conclude that

the accused products literally satisfy the ‘containment vessel having a top having an

opening . . .’ claim limitation based on the structure identified by Genotek.” Appx92.

The district court also held Genotek waived any theory of infringement under the

doctrine of equivalents. Appx97.

      As to the ’646 patent, the district court noted that Genotek’s expert (Dr.

Metzker) opined that the accused product satisfied the reagent limitations of the ’187

patent. The district court also noted that ’187 patent explains that the reagent

composition has the following effect on a sample: “When sputum is mixed with a

composition of the present invention, cells are disrupted, nucleic acids are liberated

from the cells, membranous material is solubilized, proteins are stripped from the

nucleic acids, and protein digestion begins.”          Appx106.     The district court

recognized this was an undisputed fact: “And Spectrum also concedes that the

accused solution performs in this manner, see ECF No. 231-1 at 1-2, 14-17

[Appx3507-08, Appx3520-23], meaning that it is not only Dr. Metzker’s opinion,

but it is an undisputed fact in this case that the accused solution performs in that

manner.” Appx107. The district court then went on to address how Dr. Metzker’s

testing could not change the undisputed fact that the SDNA device did not preserve

cells of a biological sample as defined in the ’646 patent. Appx107-111.



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                      SUMMARY OF THE ARGUMENT

      The district court’s summary judgment of non-infringement should be

affirmed for three reasons.

      1. Genotek’s appeal as to the ’187 patent is moot. The ’187 patent claims

require “a containment vessel having a top having an opening…said opening for

receiving a liquid sample and for sealably receiving a sealing cap.” Genotek

opposed summary judgment of non-infringement by asserting the tube and the cap

of the accused SDNA device constituted the claimed “containment vessel,” which

the district court had construed as “container.” Genotek supported its opposition

with expert testimony applying the claim language to the accused SDNA device in

the same manner. The district court granted summary judgment because “no

reasonable jury could conclude that the accused products literally satisfy the

‘containment vessel having a top having an opening . . .’ claim limitation based on

the structure identified by Genotek.” Appx92. Genotek’s appeal does not challenge

that ruling. Genotek only challenges the district court’s construction of a separate

limitation, “reagent compartment,” which was not the basis of the summary

judgment. The appeal is therefore moot.




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      2. Even if Genotek’s appeal were not moot, the district court correctly

construed “reagent compartment” as a “region or section of the containment

vessel.” The district court correctly determined the specification disclaimed a device

having a reagent compartment anywhere other than in the container.               The

specification repeatedly characterized the device of the invention as having a

container with a region for containing a reagent composition. The construction was

supported by Genotek’s omission of any embodiment having a reagent compartment

anywhere other than in the container when Genotek filed the application leading to

the ’187 patent despite disclosing such embodiment in a provisional application.

The construction was also supported by Genotek’s later explicit characterization of

the ’187 patent as limited to a device with a reagent compartment in the container.

      3. The district court correctly construed “preserving a biological sample”

in the preamble of the ’646 patent as a limitation of the invention and in accord

with an explicit definition for “preserving cells” in the specification. The preamble

provides antecedent basis for the body of the claim, which recites “a sample

collection reservoir having an opening configured to receive the biological sample

from a user into the sample collection reservoir.” The patent disclosure emphasizes

the importance of preserving cells in collected samples of bodily fluids. The

preamble of “collecting and preserving a biological sample” is consistent with that



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significant feature of the invention. And the short phrase of the preamble is not

suitable for parsing as Genotek urges, i.e., to read all but one word of the preamble

(preserving) as limiting. Once the preamble is properly deemed to be a limitation of

the claimed invention, its meaning is straightforward from the specification’s

repeated and consistent description of the significance of preserving cells in a sample

and its explicit definition, namely “‘preserving cells’ means preventing cells from

having their antigens degraded, such that they can be purified or enriched based on

their antigens, and preventing alterations in the cellular epigenome.” Appx180

(16:23-27).




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                                   ARGUMENT

I.    GENOTEK’S APPEAL IS MOOT AS TO THE ’187 PATENT

      The district court granted summary judgment on the ’187 patent because

      no reasonable jury could conclude that the accused products literally
      satisfied the “containment vessel having a top having an opening…said
      opening for receiving a liquid sample and for sealably receiving a cap”
      claim limitation based on the structure identified by Genotek.

Appx92. Genotek’s appeal does not challenge that determination. Rather, Genotek

challenges only the district court’s construction of a different claim term—“reagent

compartment.” But the district court stated explicitly that its “entry of summary

judgment of non-infringement is not based on the ‘reagent compartment’ limitation.”

Appx101. Indeed, the district court rejected Genotek’s request for reconsideration

of the “reagent compartment” construction as moot because, among other reasons,

the court’s grant of summary judgment of non-infringement was based on a different

limitation—the “a containment vessel having a top having an opening” limitation.

Id.

      Because Genotek’s appeal does not address the bases for the district court’s

judgment of non-infringement, the appeal necessarily fails. See Acceleration Bay

LLC v. 2K Sports, Inc., 15 F.4th 1069, 1077 (Fed. Cir. 2021) (appeal necessarily fails

where an appellant challenges construction of one claim limitation but not a separate




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claim limitation on which the district court’s non-infringement judgment was

based).2

      Genotek argues it “does [not] matter that the district court said it granted

summary judgment based on a different limitation—the purported absence of a

‘containment vessel’ in Spectrum’s products.” Br. at 38. Genotek alleges this is so

because the district court, in granting summary judgment, “addressed Genotek’s

amended infringement contentions, which were changed in response to the district

court’s construction.” Id. at 39 (italics in original). However, the district court did

not, and could not, rely on infringement contentions when granting summary

judgment. “Infringement contentions provide notice to the alleged infringer as to

the patent owner’s theory of infringement; they are not evidence for purposes of

summary judgment.” Pulse Elecs., Inc. v. U.D. Elec. Corp., No. 18-CV-00373, 2021

WL 981123, at *23 (S.D. Cal. Mar. 16, 2021), aff’d, No. 2021-1856, 2022 WL

1436146 (Fed. Cir. May 6, 2022); see Anderson v. Liberty Lobby, Inc., 477 U.S. 242,




      2  Some circuits hold these circumstances warrant affirmance on the merits,
rather than deeming the appeal moot. See Sapuppo v. Allstate Floridian Ins. Co.,
739 F.3d 678, 680 (11th Cir. 2014) (holding appellant who fails to appeal one of the
grounds of judgment has “abandoned any challenge of that ground, and it follows
that the judgment is due to be affirmed.”).

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(1986) (“[T]he plaintiff must present affirmative evidence in order to defeat a

properly supported motion for summary judgment.”); Fed. R. Civ. P. 56(c)(1)(A).

      Thus, the district court evaluated, as it must, the evidence submitted by

Genotek in opposing summary judgment, which included the expert declaration of

Dr. Wereley.    See, e.g., Appx84-Appx87 (citing Appx3820, Appx4017).           Dr.

Wereley stated he understood the court’s construction of “containment vessel” and

applied it when opining that the accused products, with the tube and cap together,

meet the “containment vessel” limitation. Appx4037. Based on Genotek’s evidence

and the admission of Genotek’s counsel regarding the plain meaning of “top”

(Appx88, Appx5783-84), the district court correctly held that no reasonable jury

could conclude that the accused products meet the “containment vessel having a top

having an opening…” limitation. Appx92, Appx97-98.

      Because Genotek did not appeal the construction of the “containment vessel”

limitation, nor the district court’s grant of summary judgment based on that claim

limitation, Genotek’s appeal necessarily fails.




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II.    THE DISTRICT COURT CORRECTLY CONSTRUED “REAGENT
       COMPARTMENT” IN THE ’187 PATENT

A.     The ’187 Patent Limits “the Invention” to Devices with the Reagent
       Compartment in the Container

       The specification of the ’187 patent describes the device of the invention as

having a reagent compartment located in the container. The patent divides its

invention into seven aspects. It is in the sixth aspect that the ’187 patent describes

the device of its invention. Here, as part of the Summary of the Invention, the ’187

patent states that “the invention features a device” that includes the reagent

compartment in the container:

       In a sixth aspect, the invention features a device for preserving and/or
       isolating a nucleic acid obtained from a biological sample. The device
       includes: a container that has a first region for collecting a biological
       sample and a second region containing a composition for preserving
       a nucleic acid, a barrier between the first region the second region….

Appx133 (6:26-36) (emphasis added). And, in the seventh aspect of the invention,

the patent describes the method of manufacturing the device of the invention, again

indicating it is a device with a reagent compartment in the container. Appx133 (6:46-

56).

       The Detailed Description likewise declares that, in addition to the invention’s

composition and methods, “[t]he invention also provides a novel collection

device…,” Appx137 (14:40), and here it uses the same language as the Summary of

the Invention to state again that the reagent compartment of the device of the

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invention is located in the container. Appx137 (14:51-58). These statements are not

describing mere preferred embodiments, but the device of the invention as a whole.

“When a patent thus describes the features of the ‘present invention’ as a whole, this

description limits the scope of the invention.” Regents of Univ. of Minnesota v. AGA

Med. Corp., 717 F.3d 929, 936 (Fed. Cir. 2013).

      The holding in Techtronic is directly on point. There, the claims were silent

as to the location of a passive infrared detector in the claimed garage door opener.

Techtronic Indus. Co. v. Int’l Trade Comm’n, 944 F.3d 901, 904-905 (Fed. Cir. 2019).

This Court determined that the patent, “by consistently representing the invention as

the placement of the detector in the wall console, has thus effected a disavowal of

alternative locations.” Id. at 908 (emphasis added). Thus, the Court construed “wall

console” to include the infrared detector. Id. at 910. Similarly, here the district court

correctly concluded, “this language in the specification constitutes a clear disclaimer

explaining that when the claimed invention is a sample collection device (as opposed

to a composition or a method), the reagent compartment is in the container of the

device and not in alternative locations.” Appx35-36 (emphasis added).




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B.    Genotek’s Intentional Omission of the Provisional’s Reagent
      Compartment-in-the-Cap Embodiment from the ’187 Patent Supports
      the Disclaimer

      The ’187 patent claims priority to the ’398 provisional. The ’398 provisional

describes a sample collection device having a reagent compartment. It describes one

embodiment where the reagent compartment is in the cap of the device. This

embodiment is shown in Figure 2 of the provisional (reproduced below).




Appx3190 (Figure 2); Appx3185 (“the [reagent] compartment is the underside of

the cap”).    The ’398 provisional describes a different embodiment that includes the

reagent compartment in the container. Appx3190 (Figs. 3-5).

      When Genotek filed its non-provisional application, it intentionally deleted

all references to the embodiment with the reagent compartment in the cap. This

included Figure 2 and its associated description.           Genotek included only the

embodiments with the reagent compartment in the container in the ’187 patent. In



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the written description of the ’187 patent, Genotek then limited the device of its

invention to one having a reagent compartment in the container.

      Although the ’187 patent purports to incorporate by reference the ’398

provisional application, “incorporation by reference does not convert the invention

of the incorporated patent to the invention of the host patent.” Finjan LLC v. ESET,

LLC, 51 F.4th 1377, 1382 (Fed. Cir. 2022) (quoting Modine Mfg. Co. v. U.S. Int’l

Trade Comm’n, 75 F.3d 1545, 1553 (Fed. Cir. 1996)). “Rather, the disclosure of the

host patent provides context to determine what impact, if any, a patent incorporated

by reference will have on construction of the host patent claims.” Id. (quoting X2Y

Attenuators, LLC v. U.S. Int’l Trade Comm’n, 757 F.3d 1358, 1362-63 (Fed. Cir.

2014)). Here, the host ’187 patent provides meaningful context by showing that

Genotek intended the device of its invention to have the reagent compartment in the

container. Indeed, Genotek purposely included only the embodiments with the

reagent compartment in the container in the disclosure of the ’187 patent and omitted

reference to any device with a reagent compartment in the cap. In this context,

incorporating the ’398 provisional by reference does not impact the ’187 patent’s

disclaimer of devices with a reagent compartment anywhere other than in the

container. Finjan, 51 F.4th at 1382.




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      Furthermore, this Court has held that deletion of material from a provisional

application directly affects claim construction. MPHJ Tech. Invs., LLC v. Ricoh

Americas Corp., 847 F.3d 1363, 1369 (Fed. Cir. 2017). In MPHJ, the patentee

sought a narrow construction of a claim term to escape a validity challenge based on

limiting statements in a provisional application. MPHJ, 847 F.3d at 1368. This

Court rejected the patentee’s argument because, like the ’187 patent, that disclosure

in the provisional application was omitted from the non-provisional in contrast to

other portions of the provisional application, which were bodily incorporated. Id.

This Court relied upon the patentee’s deletion of the disclosure in construing the

claims and held that “deletion from the [p]rovisional application [] contributes

understanding of the intended scope of the final application.” Id. at 1369.

      Here, the district court correctly found that “the patentee’s deletion of any

explicit disclosure of the reagent compartment being in [] the cap/lid along with the

disclaimers in the issued version of the specification explaining that the reagent

compartment is in the container evidence a clear intent to limit the final scope of the

invention to a device with the reagent compartment in the containment vessel.”

Appx39-40.




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C.    Genotek’s Representations to the Public and the Patent Office that the
      Reagent Compartment of the ’187 Patent is Limited to the Container
      Support the Disclaimer

      Consistent with the statements of disclaimer in the ’187 patent, Genotek also

represented to the public and the Patent Office that the device of the ’187 patent is

limited to one with the reagent compartment located in the container.

      In 2006, Genotek filed the ’381 patent listing as an inventor the sole inventor

of the ’187 patent, Dr. Birnboim. Like the ’187 patent, Genotek’s ’381 patent

discloses a sample collection device with a reagent chamber for releasably storing a

substance. However, as shown, for example, in annotated Figure 24 below, the ’381

patent was specifically directed to a reagent compartment in the cap of the device.




Appx1586 (Fig. 24 (annotated)); see also Appx1587 (4:24-33).




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      The ’381 patent distinguished the earlier-priority ’187 patent by describing

that disclosure as related to a device with a reagent compartment in the container:

“This container has a first region for collecting a biological sample, a second region

containing a composition for preserving nucleic acid, and a barrier between the

first region and a second region.” Appx1586 (1:50-59)3 (emphasis added). Thus,

Genotek distinguished the prior art ’187 patent from the ’381 patent, which was

specifically directed to a reagent compartment in the cap. Appx1592 (13:1-2) (claim

1).

      Later, in 2016, when the ’381 patent was challenged in an IPR based on the

disclosure of the ’187 patent (referred to as “Birnboim” in the IPR), Genotek argued

that the reagent compartment of the ’187 patent cannot be in the lid. The petitioner

had argued, inter alia, that it would have been obvious to modify Birnboim with the

O’Donovan reference to locate the reagent compartment in the lid.               Genotek

successfully opposed institution of the IPR, arguing: “Technically, O’Donovan and

Birnboim are very different devices.” Appx1562. This is because O’Donovan “is a

pushed friction fit engagement with spikes in a vial and a reagent in a lid,” id.




      3 The ’381 patent uses the same description as the ’187 patent to explain that
the reagent ’187 patent’s device includes the reagent compartment in the container.

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(emphasis added), whereas the ’187 patent has “a rotated screw cap with a ram in

the cap and a reagent below a plastic cover in a container….” Appx1563 (emphasis

added).

      The PTAB denied institution of the IPR. Appx1504-16. In so doing, the

PTAB characterized the ’187 patent, like Genotek, as having the reagent

compartment in the container. Appx1510 (describing container in ’187 patent as

having a “sealing disc [that] divides the container into two regions,” with the

preservation composition in the second region below the sealing disc).

      Spectrum has not asserted that Genotek’s characterizations in the ’381 patent

and the IPR challenging the ’381 patent constitute estoppel. Appx1205. Instead,

Genotek’s admissions are probative of Genotek’s own understanding that the device

invention of the ’187 patent is limited to the reagent compartment in the container.

Indeed, this Court has explained that “[w]e take the patentee at its word and will not

construe the scope of [] claims more broadly than the patentee itself clearly

envisioned.” Microsoft Corp. v. Multi-Tech Sys., Inc., 357 F.3d 1340, 1350 (Fed.

Cir. 2004).

      Relying on multiple precedents from this Court, the district court agreed that

Genotek’s admissions should be appropriately considered in claim construction:

      [T]he statements at issue are not mere statements made in an unrelated
      application. Rather, they are statements by the patentee about the scope

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      of its own invention in an official proceeding, represented by counsel,
      in an effort to preserve the validity of another one of its patents. There
      are many good reasons why these statements are and should be relevant
      for claim construction purposes.

Appx41-42 (internal quotations omitted) (citing Microsoft Corp. v. Multi-Tech Sys.,

Inc., 357 F.3d 1340, 1350 (Fed. Cir. 2004); Honeywell Int’l, Inc. v. ITT Indus., Inc.,

452 F.3d 1312, 1318 (Fed. Cir. 2006)).

      Admissions are, of course, relevant evidence, and courts have long recognized

the relevance of statements by inventors and patentees in characterizing their own

invention. See Jungersen v. Baden, 166 F.2d 807, 809 (2d Cir. 1948), aff’d sub nom.

Jungersen v. Ostby & Barton Co., 335 U.S. 560 (1949) (stating “[t]he inventor’s

appraisal of his own invention is of course of importance” when evaluating scope of

inventor’s U.S. patent in view of his characterization of same subject matter in

British patent); Morse v. United States, 78 Ct. Cl. 608, 632 (1934) cert. denied, 292

U.S. 652 (1934) (finding patentee’s characterization of claim scope in a separate

lawsuit to be an “admission against his interest we think is entitled to much weight”).

Moreover, the significance of a patentee’s statements characterizing its invention is

“enhanced by the fact that [they were] made in an official proceeding in which the

patentee had every incentive to exercise care in characterizing the scope of its

invention.” Apple Inc. v. Motorola, Inc., 757 F.3d 1286, 1312-13 (Fed. Cir. 2014),

overruled on other grounds by Williamson v. Citrix Online, LLC, 792 F.3d 1339 (Fed.


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Cir. 2015) (quoting Microsoft Corp. v. Multi-Tech Sys., Inc., 357 F.3d 1340, 1350

(Fed. Cir. 2004)). Genotek should be taken at its word that the reagent compartment

of the device invention in the ’187 patent is limited to the container.

D.    Genotek Shows No Error in the District Court’s Construction of
      “Reagent Compartment”

      1.      The district court’s finding of disclaimer is consistent with this
              Court’s precedent

      Genotek does not dispute, nor can it, that it repeatedly described the device of

its invention in the ’187 patent as a device having the reagent compartment in the

container.    Instead, Genotek challenges this Court’s precedent on the law of

disclaimer. Genotek argues for a heightened standard to support a showing of

disclaimer, asserting that “without more” the clear and express statements in the ’187

patent describing the device of its invention “fail[] to justify” the district court’s

construction of “reagent compartment.” Br. at 30-31.4 For example, Genotek

suggests that the specification must discuss the “importance, essentiality, or



      4  Genotek also alleges that the district court ignored the standard for
disclaimer. Br. at 28. Not so. The district court issued a thorough claim construction
order, providing a detailed recitation of the legal standard for claim construction,
and faithfully applied it, point by point, to find that Genotek clearly and expressly
disclaimed devices with a reagent compartment anywhere other than in the
container. Appx31-44.




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criticality” of a feature, or dictate what the feature “is or does” before a description

of that feature as the present invention can limit the scope of the claims to that

feature. Id. at 29-30. That is not the law.

      This Court’s precedent holds that an inventor’s statements are dispositive

where the inventor has manifested intention that the invention does or does not

include a particular aspect:

      Claim terms are normally given their ordinary and customary meaning,
      as understood by persons of ordinary skill in the art in view of the
      specification and prosecution history. Phillips v. AWH Corp., 415 F.3d
      1303, 1313 (Fed. Cir. 2005) (en banc). But where the inventor has
      clearly set forth a different definition of a claim term, or has manifested
      that the invention does or does not include a particular aspect, that
      intention “is regarded as dispositive.” Id. at 1316 (citing SciMed Life
      Sys., Inc. v. Adv. Cardiovascular Sys., Inc., 242 F.3d 1337, 1343–44
      (Fed. Cir. 2001)).

Techtronic, 944 F.3d at 907 (emphasis added).            In the ’187 patent, Genotek

manifested its intention “that the invention does…include a particular aspect,” id.,

specifically that the device includes the reagent compartment located in the

container. Appx133 (6:26-36) (describing invention’s “sixth aspect”); Appx137

(14:40, 14:51-58). Nothing more is required where, as here, the patentee clearly

manifested its intention in the specification.5 Techtronic, 944 F.3d at 907.



      5 Still, as discussed herein, the district court also correctly found that
additional evidence supports the finding of Genotek’s disclaimer. See Appx38-44.

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      The cases cited by Genotek do not support any other conclusion. Genotek

relies on Unwired Planet, LLC v. Apple Inc., 829 F.3d 1353 (Fed. Cir. 2016) to assert

that “even when the patent uses the phrase ‘the present invention’ or similar

phrases,” “this Court has rejected attempts to narrow claim terms to specific

embodiments.” Br. at 29. The holding in Unwired Planet is not so broad. Unwired

Planet, 829 F.3d at 1358 (“Every claim construction, and each potential disclaimer,

has to be considered in the context of each individual patent.”). There, the district

court construed the term in question to be limiting based on its use in a paragraph in

the specification that begins with “[t]he present invention.” Id. at 1356. However,

the allegedly limiting term was discussed only later in the paragraph, not in

connection with the phrase “the present invention.” Id. at 1358 (“[T]his first

sentence does not even mention a voice communication channel.”). Further, other

claims recited the term “voice communication channel,” signifying that the patentee

could have, if intended, included the same term in the claims-at-issue. Id. at 1358-

1359. Thus, this Court rejected the limiting construction because the phrase “the

present invention” did not manifest any intent to limit the claim in the particular

manner at issue. By contrast, Genotek clearly and expressly stated its intent in the

’187 patent that the device of the invention is a device with the reagent compartment

in the container.



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      Genotek cites to Hill-Rom to argue that this Court’s precedent requires a

patentee to do more than manifest its intent. Br. at 29-30. Hill-Rom does not impose

a heightened standard for disavowal. Indeed, this Court in Hill-Rom rejected the

district court’s restrictive construction of the term “datalink” precisely because

“[t]here are no words of manifest exclusion or restriction” in the specification. Hill-

Rom Servs., Inc. v. Stryker Corp., 755 F.3d 1367, 1372 (Fed. Cir. 2014). This Court

observed that, unlike here, “[t]here is no disclosure that, for example, the present

invention ‘is,’ ‘includes,’ or ‘refers to’ a wired datalink.” Id.

      In Hill-Rom, this Court also rejected a restrictive construction of a different

term that did use the phrase “the present invention.” Id. at 1375-77. But it did so

because the specification described it as only “one embodiment…‘in accordance

with the present invention’” and, moreover, a different embodiment in the

specification contradicted the district court’s limiting construction. Id. at 1377.

Although this Court referred to the absence in the specification of a “discussion of

the importance, essentiality, or criticality” of the feature in question, id., the Court

did not establish it as a new standard for disclaimer of claim scope. The Court was

determining whether the specification included such language as an independent

basis for finding disclaimer. See, e.g., id. at 1372 (indicating separate bases for




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disclaimer can include patentee describing “the present invention,” describing a step

as “required,” or describing a feature as “very important”).

      Continental Circuits also does not support the heightened standard that

Genotek seeks to impose for finding disclaimer. Although the specification used the

phrase “the present invention,” it was not used to describe the invention “as a

whole.” Cont’l Cirs. LLC v. Intel Corp., 915 F.3d 788, 798 (Fed. Cir. 2019). Further,

the phrase was used alongside other non-limiting language such as “one technique,”

“can be carried out,” and “a way” to describe the present invention. Id. at 797-798.

      Genotek’s reliance on Rambus is similarly misplaced. Genotek contends that

“the district court was not ‘clarify[ing] or constru[ing] the actual words of the claim’;

it was creating an additional claim requirement.” Br. at 30 (quoting Rambus Inc. v.

Infineon Techs. Ag, 318 F.3d 1081, 1089 (Fed. Cir. 2003) (alterations by Genotek).

However, Rambus addresses prosecution history disclaimer, not disclaimer in the

specification. Rambus, 318 F.3d at 1090 (rejecting the district court’s finding of

prosecution history disclaimer). There, the Court rejected the district court’s limiting

construction because the district court improperly relied on a “facially inaccurate

remark during prosecution.” Id. Rambus has no bearing to this case.

      Genotek also attempts to distinguish the cases the district court relied on in

reaching its construction. Br. at 31-32. Genotek focuses on Techtronic, arguing it



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requires that the specification describe the feature in question as “‘the critical and

inventive feature’ over the prior art.” Br. at 31 (quoting Techtronic, 944 F.3d at

910). But that is not law. That the specification in that case may have so described

the feature in question (passive infrared detector) does not make such a distinction a

requirement for finding a disavowal. Techtronic does not suggest otherwise.

      Indeed, Techtronic establishes that the patentee’s intention “is regarded as

dispositive” where, as here, the patent specification includes a clear limiting

description of the invention. Techtronic, 944 F.3d at 907. Further, the Court

admonished the lower tribunal for imposing a heightened standard for disavowal

such as what Genotek now seeks to impose. Id. at 909 (Where the specification

represents “the scope of the invention to the exclusion of some embodiments, it is

unnecessary that it also concede that those embodiments are ‘infeasible’ or even

‘impossible’ by reference to its teachings.”); id. (“[T]here is also no requirement that

the prosecution history reiterate the specification’s disavowal.”). In a footnote,

Genotek attempts to distinguish the remaining cases cited by the district court. Br.

at 32, n.6.    But these characterizations are equally unavailing in supporting

Genotek’s argument.

      Genotek also cites boilerplate language in the ’187 patent in an attempt to

recapture the disavowed claim scope.        Br. at 26 (citing Appx134 (7:65-8:3)).



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However, “such boilerplate language, without more, is not sufficient to overcome

the explicit description of the ‘present invention.’” SandBox Logistics LLC v.

Proppant Express Invs. LLC, 813 F. App’x 548, 554 (Fed. Cir. 2020) (citing D Three

Enters., LLC v. SunModo Corp., 890 F.3d 1042, 1051 (Fed. Cir. 2018) (“[B]oilerplate

language at the end of the…specification is not sufficient to show adequate

disclosure of the actual combinations and attachments used in the...[c]laims.”)).

      The cited boilerplate language is particularly off point here because it only

purports to apply to the “detailed description and the specific examples.” Appx134

(7:65-8:3). This necessarily excludes the Summary of the Invention where the

patentee declared “the invention features a device” having a reagent compartment

located in the container. Appx133 (6:26-32).

      Genotek cites Pfizer to argue boilerplate language can be used to recapture

disclaimed claim scope. Br. 26 (citing Pfizer, Inc. v. Ranbaxy Lab’ys Ltd., 457 F.3d

1284, 1290 (Fed. Cir. 2006). But Pfizer is distinguishable on its face. There, the

patent examples were directed to manufacturing racemates of a compound and the

issue was whether the claims were thus limited to racemates, rather than including

enantiomers as otherwise permitted by the claim language. Pfizer, 457 F.3d at 1290.

Relying in part on language concerning the scope of the examples, the Court found

no express intention that the patent examples were meant to be “strictly co-



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extensive” with the claims. Id. at 1290 (quoting Phillips, 415 F.3d at 1323). Notably,

the Court recognized that the patentee had, elsewhere in the specification, clearly

and expressly disclaimed claim scope to cis isomers, id. at 1289, and the patent’s

boilerplate language did not obviate this express disclaimer. Here too, boilerplate

language in the ’187 patent cannot obviate Genotek’s clear and express statements

that the device of the invention has the reagent compartment located in the container.

      2.     The district court properly relied on Genotek’s omission of the
             reagent compartment-in-the-cap embodiment from the ’187 patent

      Genotek intentionally omitted from the disclosure of the ’187 patent all

references from the ’398 provisional describing a device with the reagent

compartment in the cap. But Genotek contends that this omission is not relevant to

whether the reagent compartment of the device invention of the ’187 patent is limited

to the container. See Br. at 32-34. Genotek goes further and characterizes the district

court’s reasoning as “backwards,” arguing that, in fact, “there was no omission” due

to the ’187 patent’s incorporation by reference of the ’398 provisional. Br. at 32.

Genotek’s argument lacks merit.

      Genotek does not, and indeed cannot, dispute that it bodily incorporated into

the ’187 patent the embodiment in the ’398 provisional showing a reagent

compartment in the container, including faithful reproductions of the relevant

figures. Further, there is no dispute that Genotek excluded from the ’187 patent the


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embodiments in the ’398 provisional showing a reagent compartment in the cap. As

this Court stated in Finjan, “the disclosure of the host patent provides context to

determine what impact, if any, a patent incorporated by reference will have on

construction of the host patent claims.” Finjan, 51 F.4th at 1382 (quoting X2Y

Attenuators, 757 F.3d at 1362-63). Here, Genotek manifested its intention to limit

the scope of the claimed device to one having the reagent compartment located in

the container.    Accordingly, Genotek disavowed any contrary embodiments,

including any embodiments in the ’398 provisional having the reagent compartment

in the cap, even though the ’187 patent included a statement incorporating by

reference the ’398 provisional. Id. (“[I]ncorporation by reference does not convert

the invention of the incorporated patent to the invention of the host patent.”) (quoting

Modine, 75 F.3d at 1553); id. at 1383 (“The use of a restrictive term in an earlier

application does not reinstate that term in a later patent that purposely deletes the

term, even if the earlier patent is incorporated by reference.”).

      But the ’187 patent fails to even properly incorporate by reference the ’398

provisional application.    Under 37 C.F.R. § 1.57(d), the ’187 patent cannot

incorporate by reference the ’398 provisional application: “‘Essential material’ may

be incorporated by reference, but only by way of an incorporation by reference to a

U.S. patent or U.S. patent application publication.” 37 C.F.R. § 1.57(d). The ’398



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provisional is not a “U.S. patent or U.S. patent application publication.” Thus, Rule

1.57(d) applies here based on its plain language.

      Consistent with the rule’s plain language, the PTAB and at least one district

court have concluded that Rule 1.57(d) renders incorporation by reference of a

provisional application ineffective. In ZTE (USA) Inc. v. Cywee Grp. Ltd., the PTAB

held that under Rule 1.57(d), “a U.S. provisional application is not a ‘U.S. patent or

U.S. patent application publication,’ [and that] the [patent’s] incorporation by

reference of the [] provisional application was ineffective as to the [deleted]

embodiment.” 2021 WL 641742, at *54 (P.T.A.B. Feb. 17, 2021). The district court

in Nomadix, Inc. v. Second Rule LLC held that if Rule 1.57 applied to the challenged

patent, “there would be no question that the [] provisional application was

improperly incorporated.” 2009 WL 10668158, at *24 (C.D. Cal. Jan. 16, 2009). In

Nomadix, the court held that Rule 1.57 did not apply only because the application

that issued as the challenged patent was filed in October 2000 and Rule 1.57 became

effective in October 2004. Id. Here, on the other hand, the application that issued

as the ’187 patent was filed in 2016, twelve years after enactment of Rule 1.57.

      Here, the district court declined to rely on Rule 1.57(d) (and also found it

unnecessary to do so) in its construction of “reagent compartment.” See Appx36,

n.16. The district court explained it was not bound by the decisions in ZTE and



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Nomadix and it was compelled to follow this Court’s statement in Trustees of

Columbia University that “provisional applications incorporated by reference are

effectively part of the specification as though it was explicitly contained therein.”

Appx36 (quoting Trs. Of Columbia Univ. in City of New York v. Symantec Corp., 811

F.3d 1359, 1366 (Fed. Cir. 2016) (internal quotation marks omitted). But in that

case, the issue of Rule 1.57(d) was not before this Court. Indeed, the district court

acknowledged that Trustees of Columbia University did not address Rule 1.57(d),

but nevertheless relied on statements in that case regarding incorporation by

reference of a provisional application. Appx36, n.16. Although not necessary in

affirming the district court’s construction, this Court may now consider the effect of

Rule 1.57(d) and, if it does so, should hold that it bars Genotek from relying on the

’187 patent’s statement of incorporation by reference to the ’398 provisional for

“essential material,” including the reagent compartment-in-the-cap embodiment that

Genotek intentionally omitted from the ’187 patent.

      3.     The district court properly relied on Genotek’s representations in
             the ’381 patent specification and in the IPR

      In the specification of the later-priority ’381 patent, Genotek represented to

the public that the device disclosed in the ’187 patent has its reagent compartment

located in the container. Appx1586 (1:50-59). Spectrum cited to this disclosure in

its claim construction briefing, and the district relied on it as evidence of how


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Genotek itself understands the scope of its invention in the ’187 patent. See

Appx1204; Appx41 (citing Appx1586 (1:50-59)). On this issue, Genotek is silent,

having failed to acknowledge, let alone address, this admission in the ’381 patent

about the scope of its invention in the ’187 patent.

      With respect to the representations Genotek made about the ’187 patent in the

IPR challenging the ’381 patent, Genotek attempts to minimize these statements as

made “during an IPR of an unrelated patent.” Br. at 34-35. Genotek’s argument is

without merit. Genotek analogizes the situation here to cases where a litigant has

attempted to use a patentee’s statements made during prosecution of a first patent to

construe claim terms in a second unrelated patent. See Br. at 35 (citing Pfizer, 457

F.3d at 1290; Apple, 757 F.3d at 1312; Hill-Rom, 755 F.3d at 1381). This situation

is entirely different: Genotek made statements about the ’187 patent that are directly

relevant to the scope of the claims in the ’187 patent. The district court relied on

Genotek’s statements as evidence of how Genotek itself understands the scope of

that same invention in the ’187 patent—not in some other unrelated patent. As the

district court aptly stated, “the statements at issue are not mere statements made in

an unrelated application. Rather, they are statements by the patentee about the scope

of its own invention in an official proceeding, represented by counsel, in an effort to

preserve the validity of another one of its patents.” Appx42.



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      The Court should not disregard these representations, as Genotek urges,

simply because they were made during Genotek’s defense of an unrelated patent

where the ’187 patent was used as prior art. A competitor like Spectrum should be

“entitled to rely on [Genotek’s] representations when determining a course of lawful

conduct, such as launching a new product or de-signing-around a patented

invention.’” Aylus Networks, Inc. v. Apple Inc., 856 F.3d 1353, 1359 (Fed. Cir. 2017).

      Genotek also attempts to minimize its representations about the ’187 patent

during the ’381 patent’s IPR by cabining the statements to a “preferred

embodiment.” Br. at 36-37. This argument is unavailing for at least three reasons.

First, the ’187 patent discloses just one device of its invention—the device with the

reagent compartment in the container—thus, labeling it the “preferred embodiment”

does not have any bearing on the effect of Genotek’s representations during the IPR.

      Second, Genotek’s argument ignores that the petitioner’s obviousness

challenge was based on the disclosure of the ’187 patent, not any single embodiment.

An obviousness determination requires an analysis of the scope and content of the

prior art. Thus, as the district court explained, “the scope of the teachings in

Birnboim (i.e., the scope of its disclosure) was directly at issue during the relevant

IPR proceedings and in the statements made by DNA Genotek.” Appx43 (citing




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Polaris Indus., Inc. v. Arctic Cat, Inc., 882 F.3d 1056, 1069 (Fed. Cir. 2018) (internal

alterations and quotations omitted).

      Third, Genotek’s argument is belied by its own detailed explanation of the

’187 patent device in the IPR briefing. See Appx1555-57. The petitioner had argued

that the ’187 patent’s discussion of a septum or plastic bag alternative is

“incomplete” and therefore suitable for modification with the O’Donovan reference,

which has its reagent compartment in the cap. Appx1555. Genotek disagreed,

explaining that the septum and plastic bag are simply “alternatives for separating the

sample and the composition” in the container. Appx1556. According to Genotek, it

is all the same device, just replacing the plastic cover at the bottom of the vial with

a septum. Appx1557 (Genotek asserting, based on a “plain reading” of the ’187

patent, that septum is “at the bottom of the vial”). To avoid any ambiguity, Genotek

again confirmed that the ’187 patent’s device includes a reagent compartment only

in the container: “[W]hen Birnboim replaces the plastic cover with a septum, the

only other change is to ensure the bottom of the push rod can pierce the septum.”

Id. (emphasis added).

      In sum, the district court correctly construed “reagent compartment” and this

Court should affirm the summary judgment of non-infringement of the ’187 patent.




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III.   THE DISTRICT COURT CORRECTLY CONSTRUED
       “PRESERVING A BIOLOGICAL SAMPLE” IN THE ’646 PATENT

A.     The Court Correctly Held the Preamble Limiting

       Genotek argues the preamble here is nothing more than an “intended use.” Br.

at 40-41. But the preamble does not merely state a purpose or intended use. It

provides the antecedent basis for “the biological sample” recited in the body of the

claim: “a sample collection reservoir having an opening configured to receive the

biological sample from a user into the sample collection reservoir.” Appx183 (claim

1). When a claim relies on a “preamble phrase for antecedent basis” it is a “‘strong

indication’ that the preamble acts ‘as a necessary component of the claimed

invention.’” Bio-Rad Labs., Inc. v. 10X Genomics Inc., 967 F.3d 1353, 1371 (Fed.

Cir. 2020) (quoting Eaton Corp. v. Rockwell Int'l Corp., 323 F.3d 1332, 1339 (Fed.

Cir. 2003)).

       That is particularly true here because the preamble matches what the inventors

disclosed as their invention. The claimed invention is a “kit for collecting and

preserving a biological sample.” Appx183 (claim 1). As set forth in the Abstract,

the ’646 patent’s “disclosure relates to devices, solutions, and methods for collecting

and processing samples of bodily fluids containing cells….” Appx142. The ’646

patent does mention non-biological samples, for example “toxic and/or hazardous

substances/fluids.” Id. But when it comes to biological samples, the ’646 patent


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makes clear that it is referring to cells and the disclosed device preserves those cells.

See, e.g., Appx173-181 (1:20-30, 2:34-4:49, 4:53-61, 5:15-20, 5:21-25, 6:6-8:24,

9:44-10:15, 13:29-47, 14:54-15:5, 16:9-47, 16:62-17:42, 17:43-18:59, and 18:64-

19:40).

      The specification makes clear the inventors perceived the preservation of cells

as a critical aspect of the invention. Starting with the Abstract the inventors informed

the reader that the ’646 patent’s “disclosure generally relates to … the isolation and

preservation of cells from saliva and other bodily fluids.” Appx142 (emphasis

added). And the rest of the specification repeatedly references cells and their

preservation thereby confirming the inventors’ initial statement from the Abstract.

Given the specification’s view that the invention was collecting and preserving cells,

the inventors included that language when drafting the claims for “[a] kit for

collecting and preserving biological samples.” Appx383 (claim 1). The inventors

then referred back to that same “biological sample” that is collected and preserved

when reciting the “reservoir having an opening configured to receive the biological

sample from a user into the sample collection reservoir.” Appx383 (claim 1).

      The district court correctly recognized the link between the preamble, the

claims, and the patent’s disclosure, observing: “Whether to treat a preamble as a

limitation is a determination ‘resolved only on review of the entire[] . . . patent to



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gain an understanding of what the inventors actually invented and intended to

encompass by the claim.’”        Appx60 (quoting Catalina Mktg. Int’l, Inc. v.

Coolsavings.com, Inc., 289 F.3d 801, 808 (Fed. Cir. 2002)) (alterations in original).

The district court noted that this Court “has recognized certain ‘guideposts’ for

making that determination” and that “[o]ne of those guideposts is that: ‘When

limitations in the body of the claim rely upon and derive antecedent basis from the

preamble, then the preamble may act as a necessary component of the claimed

invention.’” Id. (quoting Eaton, 323 F.3d at 1332).

      By referring back to the biological sample of the preamble, the ’646 patent

links the claimed structure, including “a sample collection reservoir having an

opening configured to receive the biological sample from a user into the sample

collection reservoir,” to the preamble’s requirements, namely a biological sample

that is collected and preserved.     The preamble thus provides “an important

characteristic of the claimed invention.” Poly-America, LP v. GSE Lining Tech.,

Inc., 383 F.3d 1303, 1310 (Fed. Cir. 2004).

      Genotek initially ignores the antecedent basis provided by the preamble.

Instead, Genotek argues that the claim defines a structurally complete invention,

with the preamble nothing more than an intended purpose. Br. at 40-41. Genotek

relies on cases like Arctic Cat Inc. v. GEP Power Prods., Inc., 919 F.3d 1320, 1328



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(Fed. Cir. 2019), which it calls “instructive.” Br. 41. But Arctic Cat dealt with a

different situation, with the Court explaining that the preamble in Arctic Cat did not

“supply ‘antecedent basis’ for terms in the body….” Arctic Cat, 919 F.3d at 1329.

In Arctic Cat, the absence of any antecedent basis in the preamble was “telling,” and

the preamble was held not limiting. Id.

      Genotek also asserts that the specification’s repeated discussion of preserving

cells “relate to embodiments not claimed by the ’646 patent.” Br. at 43. Genotek

then argues “[i]t is well-settled” that claims need not cover all disclosed

embodiments. Br. at 43 (citing cases). But this is not an instance where the claim is

silent about preserving the sample. Instead, the claim recites “collecting and

preserving a biological sample,” and then refers back to “the biological sample,” i.e.,

that which is collected and preserved, when defining the claimed kit in the body of

the claim.

      Once Genotek does turn to the antecedent basis, its analysis skips over the

importance of the preamble to the claimed invention. Genotek argues that the district

court’s construction “located antecedent language but never asked whether that

language—‘a biological sample’—defined any part of the invention.” Br. at 45.

Genotek further asserts the preamble’s use of “a biological sample” does not

“define[] or explain[] what that biological sample is” and that the “none of the



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claimed apparatus’s structures…depends on how the preamble describes ‘a

biological sample.’” Br. at 45. But the claims do recite structure related to the

collection and preservation of a biological sample — the claims recite the structure

of the device for receipt of the biological sample (the sample collection reservoir)

and the valve structure that provides for mixing between the reagent chamber and

the sample collection reservoir, which receives and stores the biological sample.

      Genotek’s argument that the claims are directed to an apparatus disconnected

from the requirement of collecting and preserving a biological sample is also belied

by how Genotek defined a person of ordinary skill in the art. Per Genotek’s expert,

“The Asserted Patents contain both chemical and mechanical aspects.… I have only

provided my opinion with respect to the chemical aspects of the claimed inventions

of the Asserted Patents.” Appx2829 (¶ 38). According to the expert, a person of

ordinary skill in the art “would have been knowledgeable and familiar with the

preservation of biological samples and nucleic acid” and would have had education

and experience relating to the same. Id. But if the preamble of the ’646 patent claims

were not limiting, as Genotek argues, there would be no biological or chemical

aspects of the claimed invention.

      Genotek’s arguments against reading the preamble to define the claimed

invention further relies on parsing the preamble into separate parts and ignoring the



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linked requirements for collecting and preserving the biological sample. Br. at 45-

46. The preamble here “cannot be neatly packaged into two separate portions,” so

Genotek’s approach of “splicing” the preamble into different pieces and separating

out the parts it does not like is disfavored. Bio-Rad, 967 F.3d at 1371. Genotek

argues that “some preamble language is limiting does not imply that other preamble

language, or the entire preamble, is limiting.” Br. at 46 (quoting Cochlear Bone

Anchored Sols. AB v. Oticon Med. AB, 958 F.3d 1348, 1355 (Fed. Cir. 2020)). But

unlike Cochlear Bone, the preamble here links “collecting and preserving” to the

“biological sample”—the same term used in the claim.

      Moreover, Genotek solely disputes the limitation provided by the word

“preserving,” in the preamble, but raises no such concerns about the remainder of

the preamble that recites “collecting…a biological sample.” See, e.g., Br. at 46-47.

Thus, unlike Cochlear Bone and other cases, Genotek suggests excising a single

word—“preserving”—from the preamble while keeping the rest. Bio-Rad rejected

this approach. Bio-Rad, 967 F.3d at 1371.

      Genotek attempts to distinguish Bio-Rad because it “was for a method” in

contrast to ’646 patent’s claims “directed only to an apparatus.” Br. at 47. But Bio-

Rad’s reasoning is equally applicable here because the term providing antecedent




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basis cannot be read separately from the remainder of the preamble. Bio-Rad, 967

F.3d at 1371.

      This is not a situation where the preamble can be parsed into pieces as Genotek

urges, i.e., essentially striking a portion to read “collecting and preserving a

biological sample.” The short preamble identifies and links two requirements:

“collecting and preserving a biological sample.” Appx183. If a preamble “cannot

be neatly packaged into two separate portions,” then “splicing” is disfavored. Bio-

Rad, 967 F.3d at 1371. In this instance, the preamble cannot be separated into pieces.

Instead, as set forth in the specification, there is an intimate relationship between

collecting and preserving a biological sample. Appx173 (1:19-30). Accordingly,

and consistent with the claim language and specification, the district court correctly

construed the entire preamble as limiting.

B.    The District Court Correctly Construed the Preamble

      The district court construed “preserving a biological sample” as “preventing

cells in the biological sample from having their antigens degraded such that they can

be purified or enriched based on their antigens, and preventing alterations in the

cellular epigenome.” Appx65. The court applied a two-step analysis. First, the

court noted that it had already construed the term “biological sample” as a

“biological sample containing cells.”        See Appx62 (citing prior construction,



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Appx57-59). Second, based on its prior construction for “biological sample,” the

court applied the specification’s disclosure and express definition for “preserving

cells.” Appx64-65 (citing Appx180 (16:23-27)).

      The court’s well-reasoned analysis correctly construed “preserving a

biological sample.”    That construction, and the attendant grant of summary

judgment, should be affirmed.

      1.    The district court correctly held “preserving a biological sample”
            requires preserving cells in a biological sample

      The ’646 patent, from its start, makes clear that the invention “relates to

devices, solutions and methods for collecting and processing samples of bodily

fluids containing cells….” Appx142 (Abstract). The patent likewise narrows the

“Field of the Disclosure” to (1) “devices, solutions and methods for collecting

samples of bodily fluids or other substances” and (2) “to the isolation and

preservation of cells from such bodily fluids.” Appx173 (1:19-30).

      Such statements define the inventors’ understanding as to the scope of the

invention. Regents of Univ. of Minnesota v. AGA Med. Corp., 717 F.3d 929, 936

(Fed. Cir. 2013). When a patent describes the features of the present invention as a

whole, that description limits the scope of the invention. Verizon Servs. Corp. v.

Vonage Holdings Corp., 503 F.3d 1295, 1308 (Fed. Cir. 2007). The ’646 patent’s

characterization of the scope of “the disclosure,” like the characterization of “the


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invention” in Verizon and Regents, provides the context for understanding the

invention as a whole. This is because “[t]he specification shall contain a written

description of the invention,” 35 U.S.C. § 112, so defining the limits of the disclosure

necessarily defines the limits of the invention as well.

      The remainder of the specification confirms that the scope of the ’646 patent’s

disclosure, with respect to preserving bodily fluids, requires preserving cells.

Among other things, the patent discusses in the “Summary of the Disclosure”:

           the collection of bodily fluids and “preserving cells of samples

             collected,” “isolating specific cells either collected and/or preserved,”

             and analyzing “[s]uch isolated cells” in the “Summary of the

             Disclosure” (Appx174 (4:53-61))

           “preserving the antigenicity and epigenome of cells, and isolating rare

             cells” (Appx175 (6:49-53))

           “a solution for preserving cells in bodily fluids” (Appx175 (6:61-62))

           “a method for preserving cells in one or more bodily fluids” (Appx176

             (7:7-11))

      Statements regarding the scope of the disclosed invention do not always

describe the invention as a whole. But here, the ’646 patent’s disclosure reinforces

the statements defining the scope of the disclosure by repeatedly stating that the


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“preserving” the patent is directed to is preserving the cells in the sample. In

contrast, the “Summary of the Disclosure” does not mention preserving anything

other than cells from a biological sample. And it is well settled that the specification,

is “the single best guide to the meaning of a disputed term.” Phillips, 415 F.3d at

1315.

        The district court considered the claim language and specification and found

that “the specification’s use of the phrases ‘the present disclosure’ and ‘the

disclosure’ alerts the reader that invention disclosed in the ’646 Patent is directed to

the preservation of cells in samples.” Appx64. The district court further found that

“the specification never references any type of preservation other than the

preservation of cells.” Appx64. Given the inventors’ written description of the

invention, and the court’s construction of “biological sample,” the court applied the

’646 patent’s definition of “preserving cells” to the claimed “preserving a biological

sample.” Appx64-65. There was no error in the court’s analysis or construction.

        On appeal, Genotek attempts to make much of a difference in terminology

between the claims and the specification. The claims, which were filed in a

continuation application years after the priority date of the ’646 patent, use the term

“preserving a biological sample,” but as Genotek argues, the specification “never

uses the phrase ‘preserving a biological sample’ at all.” Br. at 49. Indeed, the



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specification never uses even “biological sample.” Genotek essentially relies on the

absence of supporting evidence as demonstrating a broader invention. This Court

should not countenance Genotek’s arguments to sidestep the specification’s

disclosure to somehow claim a different invention than what is described in the

patent.

      That the specification never mentions a “biological sample,” and instead

discusses “bodily fluids containing cells,” does not broaden the scope of the

disclosure or justify changing the invention of that disclosure. See, e.g., GPNE

Corp. v. Apple, Inc., 830 F.3d. 1365, 1368-71 (Fed. Cir. 2016) (affirming

construction of “a node” as “a pager” where, apart from Abstract, the specification

did not use “node,” but repeatedly used “pager” and “paging units’ consistently

throughout).

      Genotek also asserts the specification’s disclosure mentions preserving cells

in the context of “solutions and methods—not the kit that the patent here claims.”

Br. at 49. Not so. Consistent with the claim language, the ’646 patent also limits its

disclosure to “devices…for collecting samples of bodily fluids” and the “isolation

and preservation from such bodily fluids.” Appx173 (1:19-30) (“Field of the

Disclosure”) (emphasis added). Genotek also suggests that the patent’s disclosure

“relevant to what the ’646 patent claims…discusses the collection of bodily fluids,



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not just cells.”    Br. at 50 (citing Appx174 (4:53-55); Appx175 (6:6-8)).       But

Genotek’s first citations stop mid-sentence and omits the part that indicates the

“preserving” is for “cells of samples collected” and that any analysis is carried out

on “specific cells either collected and/or preserved.” Appx174 (4:53-61). The

second citation refers to a “bodily fluid sample,” but that does not broaden the

inventors’ initial indication that the scope of the disclosure was a biological fluid

containing cells.     See, e.g., Appx142 (Abstract); Appx173 (“Field of the

Disclosure”).

      Despite the patent’s clear statement of scope evident from the ubiquitous

references to preserving cells and its explicit definition of what preserving cells

means, Genotek goes so far as to argue the patent is directed to cell-free samples.

Br. at 50 (citing Appx2837). Specifically, Genotek cites to expert testimony it

offered on claim construction where the expert opined that “[o]ne of ordinary skill

in the art would have known a biological sample of the ’646 Patent is a cell-free

plasma sample that contains either cell-free fetal DNA…obtained from the blood of

a pregnant mother or cell-free circulating tumor DNA obtained from the blood of a

cancer patient.” Appx2837 (emphasis in original). Genotek’s assertion on appeal

that “Spectrum never contested these statements,” Br. at 50, is incorrect. Spectrum




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both objected to the testimony and explained why it should be rejected.6 Not

surprisingly, the expert declaration cited nothing in the patent for this cell-free

contention. The patent says no such thing. The ’646 patent has nothing to do with

collecting and preserving cell-free blood plasma. Cell-free blood plasma is not

something collected in a sample collection device such as described in the patent.

Cell-free blood plasma could be a product that a scientist working in a laboratory

could obtain after processing a sample that had been collected from a user, which

sample originally contained cells. Genotek’s argument that the patent is directed to

cell-free blood plasma samples is also belied by the language of the claims—the

claims say the biological sample is “from a user,” not something obtained from a

laboratory separation process. Appx183 (22:21).

      Given the ’646 patent makes no mention of collecting and preserving cell-free

samples and this Court’s guidance that “conclusory, unsupported assertions by




      6 Spectrum objected to, and moved to exclude, this and other portions of the
expert testimony based on Genotek’s failure to provide the required notice under the
Local Rules. See Appx2366-72. Spectrum also explained why the district court
should not credit such unsupported expert testimony that contradicts the patent.
Appx2358-59. The district stated that it was skeptical whether the declaration
complied with the Local Rules, but declined to address the objections because it
deemed the testimony immaterial and did not rely upon it. Appx6-7.

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experts as to the definition of a claim term are not useful to a court,” Phillips, 415

F.3d at 1318, the district court rightly did not rely upon the proffered testimony.

      2.     The intrinsic evidence supports the court’s construction of
             “preserving a biological sample”

      Genotek next argues that the court erred by applying the ’646 patent’s

definition of “preserving cells” to the claimed “preserving a biological sample.” Br.

at 50-51. Genotek first asserts the specification’s indication that the disclosure

“relates generally…to the isolation and preservation of cells from such bodily fluids”

does not indicate “that preserving cells is an essential feature of the claimed

apparatus.” Br. at 51. But the specification specifically links the collection of bodily

fluids and the “preservation of cells from such bodily fluids.” Appx173 (1:21-29)

(emphasis added). Thus, unlike the cases Genotek cites, the specification here does

limit its disclosure with respect to the claim’s recitation of “collecting and preserving

a biological sample.” And, with respect to preserving the biological sample, the

specification limits its disclosure to collecting and preserving biological samples that

contain cells. Appx173 (1:21-29). Genotek’s cited authority recognizes that such

statements defining the scope of invention constitute disavowal. See, e.g., Unwired

Planet, 829 F.3d at 1358 (“We have held statements such as ‘the present invention

includes...,’ ‘the present invention is ...,’ and ‘all embodiments of the present




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invention are ...’ to be clear and unmistakable statements constituting disavowal or

disclaimer.”).

      The district court correctly recognized that “biological sample” in the body of

the claim meant a “biological sample containing cells.” Appx57-59. And the court

recognized there was an express definition for “preserving cells” that applied to the

claim language. Appx64-65. That definition of “preserving cells” is “preventing the

cells from having their antigens degraded, such that they can be purified or enriched

based on their antigens, and preventing alterations in the cellular epigenome.”

Appx180 (16:23-27).        The Court’s construction tracks this definition, and is

consistent with the inventors’ indication of the specification’s limited scope.

Appx65.

      Genotek further argues that the grant of summary judgment “exposes the

problems” with the district court’s approach because “the district court identified no

structural difference between Spectrum’s products and the claimed apparatus.” Br.

at 52. But the Court’s construction did not turn the apparatus claims into method

claims, as Genotek alleges. Instead, the Court’s construction gave life to the claim

and properly limited it to the scope identified by the inventors by requiring the

claimed kit must be configured to preserve cells.




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      In rendering summary judgment of non-infringement, the Court recognized

that Spectrum’s product does the opposite of what is disclosed and claimed because

Spectrum’s SDNA device did not preserve, but instead destroyed (or lysed) cells.

Appx3787 (32:13-17); Appx3788 (34:9-12). Based on Genotek’s allegation that the

reagent composition of the accused SDNA device was the claimed reagent

composition of the asserted ’187 patent and Genotek’s expert’s testimony to the same

effect, it was an undisputed fact that composition had the following effect on a

sample: “When sputum is mixed with a composition of the present invention, cells

are disrupted, nucleic acids are liberated from the cells, membranous material is

solubilized, proteins are stripped from the nucleic acids, and protein digestion

begins.” Appx106 (quoting Appx137 (13:38-42).

      Genotek asserts that it “produced evidence that Spectrum’s products preserved

one kind of antigen (TLR2 antigens).” Br. at 53. This argument is incorrect and also

goes to an issue not appealed by Genotek, namely whether Genotek presented

evidence raising a triable issue on the construction adopted by the district court.

      In any event, the district court addressed Genotek’s evidence and concluded

that the evidence from both sides showed that Spectrum’s product degraded cells

instead of preserving them. Appx105-106.




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      The court did not, as Genotek alleges, require evidence that all antigens were

preserved. Br. at 53. Instead, the court observed that the evidence that Genotek

relied on, even construed in a way most favorable to Genotek, showed destruction

of cells and degradation of multiple antigens. Appx107-108. Genotek argues that

the definition in the specification only requires preventing cells “from having their

antigens degraded” and asserts there is “no floor” to this requirement. Br. at 53. The

district court disagreed, and explained its construction, provided by the explicit

definition in the patent, required preventing cells and antigens (both plural) from

degradation, which Genotek did not show. Appx107.

      Genotek further argues that “[t]he district court similarly went astray in

determining what ‘preventing alternations in the cellular epigenome’ requires.” Br.

54. The district court, however, relied on the specification’s definition of

“epigenome.”    Appx111-112. That definition indicates the cellular epigenome

includes specific covalent modifications of DNA and proteins, including

methylation at the 5 position of cytosine in a CpG dinucleotide and acetylation of

lysine residues of histones. Appx180 (16:27-33). In view of this express definition,

the court granted summary judgement because Genotek’s proffered evidence did not

address these expressly identified modifications. Appx112-113. Genotek asserts

that these are mere “examples” of modifications to the cellular epigenome. But the



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’646 patent defines the epigenome as “the state or pattern of alteration” and identifies

specific alterations that that are part of the epigenome. Appx180 (16:27-33). The

district court correctly held that determining whether the epigenome was preserved

required at least evidence of those specific alterations.

                                   CONCLUSION

      For the foregoing reasons, Spectrum respectfully requests that this Court

affirm the judgment below.




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                          CERTIFICATE OF COMPLIANCE

           1.    This brief complies with the type-volume limitation of Federal Rule of

Appellate Procedure 32(a). This brief contains 13,943 words, excluding the parts of

the brief exempt by Federal Rule of Appellate Procedure 32(f) and Federal Circuit

Rule 32(b)(2).

           2.    This brief complies with the typeface requirements of Federal Rule of

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